                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


 PLAYERS1ST SPORTS MANAGEMENT
 GROUP-SMG, A.K.A., JAMES DICKEY,
 ESQ.,

                                          Plaintiff,

                      v.                                   Civil Action No. 1:17-cv-12295-IT

 NATIONAL FOOTBALL LEAGUE,
 NATIONAL FOOTBALL LEAGUE
 MANAGEMENT COUNCIL, and
 NATIONAL FOOTBALL LEAGUE
 PLAYERS ASSOCIATION,

                                        Defendants.


              DEFENDANT NATIONAL FOOTBALL LEAGUE PLAYERS
               ASSOCIATION’S MOTION TO COMPEL ARBITRATION
            AND DISMISS THE COMPLAINT OR, IN THE ALTERNATIVE,
          TO DISMISS THE COMPLAINT FOR FAILURE TO STATE A CLAIM

        Defendant National Football League Players Association (the “NFLPA” or “Union”)

moves pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq. (West 1947), to

compel arbitration of all of Plaintiff’s claims and dismiss the Complaint. Alternatively, the

NFLPA moves pursuant to Federal Rule of Civil Procedure 12(b)(6) to dismiss the Complaint for

Plaintiff’s failure to state a claim.

        Plaintiff, a former NFLPA-certified Contract Advisor who has a history of filing

“frivolous” and “vexatious” actions before this Court, asserts federal antitrust and state-law claims

to challenge the “three-year rule” under the NFLPA’s Regulations Governing Contract Advisors

(“NFLPA Regulations”). See Dickey v. City of Boston, No. 16-cv-10636-LTS, 2016 WL 7365167,

at *6 (D. Mass. Dec. 19, 2016). However, all of Plaintiff’s claims are subject to mandatory



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arbitration under the NFLPA Regulations. In fact, Plaintiff previously submitted to arbitration

under the NFLPA Regulations the very claims he now improperly seeks to litigate before this

Court. Accordingly, this Court should compel Plaintiff to arbitrate his claims under the NFLPA

Regulations and dismiss the Complaint pursuant to the FAA.

       Alternatively, this Court should dismiss the Complaint because Plaintiff has failed to state

a legal claim. Specifically, Plaintiff’s federal antitrust claim is barred by both the statutory and

nonstatutory labor exemptions to the antitrust laws. And, even if it were not, Plaintiff has not and

cannot meet myriad pleading requirements to state an antitrust claim. Furthermore, Plaintiff’s

state-law claims are preempted under the Labor-Management Relations Act, 1947 (29 U.S.C. §

141 et seq. (West 1947)) and the National Labor Relations Act (29 U.S.C. § 151 et seq. (West

1935)) and, further, are insufficiently plead. Given the foregoing, none of Plaintiff’s claims

survive scrutiny, and the Complaint should be dismissed.

       In support of this Motion, the NFLPA refers this Court to the accompanying Memorandum.

                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), the NFLPA hereby respectfully requests that the Court hear

oral argument on this Motion.




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 Dated: February 5, 2018                           Respectfully submitted,

                                                   NATIONAL FOOTBALL LEAGUE
                                                   PLAYERS ASSOCIATION

                                                   By its attorneys,

                                                   /s/ Russell Beck
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                           LOCAL RULE 7.1 CERTIFICATION

        I hereby certify that, pursuant to LR 7.1, counsel for the NFLPA conferred and attempted
in good faith with counsel for Defendants National Football League and National Football League
Management Council to resolve or narrow the issues presented by this motion. Counsel for both
Co-Defendants indicated that the Co-Defendants assent to this motion. Despite multiple attempts
to reach pro se Plaintiff, James Dickey, including by calling multiple phone numbers associated
with Mr. Dickey multiple times, leaving multiple voice messages, and sending multiple emails—
all over the course of several days, I have been unable to connect with Mr. Dickey and,
accordingly, have been unable to confer with Mr. Dickey regarding this motion.

                                                   /s/ Russell Beck
                                                   Russell Beck




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filling (NEF) and paper
copies will be sent to those indicated as non-registered participants on this 5th day of February
2018.



                                                     /s/ Russell Beck
                                                     Russell Beck




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